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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION

  WILLIAM HEATH HORNADY, et al.,                     )
                                                     )
                    Plaintiffs,                      ) CASE NO. 1:18-cv-00317-JB-N
                                                     )
  v.                                                 )
                                                     )
  OUTOKUMPU STAINLESS USA, LLC                       )
                                                     )
                    Defendant.                       )
                DEFENDANT’S MOTION TO SUBSTITUTE COUNSEL (OPPOSED)
               AND TO EXTEND DEADLINE FOR SUBMISSION OF JOINT REPORT

           Defendant Outokumpu Stainless USA, LLC (“Outokumpu”) moves, under General Local

 Rule 83.3(h), to substitute Devin C. Dolive of the law firm of Burr & Forman LLP as counsel for

 Outokumpu in place of Jennifer Fox Swain, Sinead E. Daly (admitted pro hac vice), and Charles

 A. Powell, IV of the law firm of Littler Mendelson, P.C. Because Plaintiffs’ counsel has indicated

 that his clients oppose this substitution, Outokumpu also moves, under Federal Rule of Civil

 Procedure 6(b), to extend the time for submission of the joint report currently due on April 27 (per

 the Court’s statements at the April 13, 2021 pretrial status conference) until at least 10 days after

 the Court rules on the requested substitution of counsel. In support, Outokumpu shows as follows:

           1.      Attorney Jennifer Fox Swain of Littler Mendelson, P.C. filed the initial appearance

 for Outokumpu in the matter in August 2018. (See Doc. 10.) Thereafter, three out-of-state attorneys

 at Littler Mendelson, P.C. moved for admission pro hac vice, though one of these attorneys (Ryan

 B. Sheffield) later withdrew. (See Docs. 28, 37, 88, & 158). This left Outokumpu, as of the time

 of the March 12, 2021 show-cause hearing (see Doc. 298), with three attorneys of record, all of

 whom were with Littler Mendelson, P.C.




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           2.   During the show-cause hearing on March 12, 2021, the Court suspended the pro

 hac vice admission of Outokumpu’s “lead counsel” Gavin S. Appleby. Thereafter, on March 21,

 2021, Charles A. Powell, IV (also with Littler Mendelson, P.C.) filed a notice of appearance (Doc.

 306) and stated that he was replacing Mr. Appleby as Outokumpu’s “lead counsel.” (See Doc. 307

 at PageID #3950.)

           3.   More recently, at the pretrial status conference held on April 13, 2021 (see Doc.

 311), the Court asked the parties to present “a joint list” of “fact questions to be resolved by a

 factfinder or as a sanction” so as to help the Court “do a better job entering a sanctions order in

 this case.” (See Apr. 13, 2021 Tr. 46:19-47:18.) Based on the instructions provided at the hearing,

 it appears that this joint report is currently due on April 27, 2021.

           4.   Outokumpu believes that the Littler Mendelson, P.C. firm has a conflict and that,

 following the pretrial status conference, attorneys at Littler Mendelson, P.C. can no longer

 represent Outokumpu’s interests in this case. Accordingly, Outokumpu retained Mr. Dolive and

 the law firm of Burr & Forman LLP to represent it. Mr. Dolive asks that he be served with all

 pleadings, motions, filings, and notices in this action. His contact information is in the signature

 block below.

           5.   Before filing this motion, Mr. Dolive conferred with Plaintiffs’ counsel Ian D.

 Rosenthal. Mr. Rosenthal stated that his clients oppose the substitution of any Burr & Forman LLP

 attorney in place of attorneys at Littler Mendelson, P.C. Mr. Rosenthal further stated that Plaintiffs’

 position was that a substitution request should be ruled upon by a judge other than the Article III

 judge currently assigned to the case.

           6.   Plaintiffs’ stated opposition to the substitution of counsel arguably creates

 uncertainty over who should be conferring with Plaintiffs’ counsel regarding the content of the




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 joint report that is currently due on April 27 and also over who would be authorized to sign such

 a joint report on Outokumpu’s behalf. Therefore, Outokumpu asks that the Court extend the April

 27 deadline. Specifically, Outokumpu asks that the deadline be extended until at least 10 days after

 the Court rules on the present request for substitution of counsel. In conferring with Plaintiffs’

 counsel before filing this motion, Mr. Dolive understands that Plaintiffs’ position is as follows:

 though Plaintiffs oppose the substitution of counsel for Outokumpu, Plaintiffs recognize that the

 present April 27 deadline is not workable in light of Outokumpu’s substitution request.

           WHEREFORE, Outokumpu respectfully asks that this Court enter Orders (1) substituting

 Mr. Dolive of the law firm of Burr & Forman LLP as counsel for Outokumpu in place of Mr.

 Powell, Ms. Swain, and Ms. Daly of the law firm of Littler Mendelson, P.C. and (2) extending the

 deadline for the submission of the joint report (currently due April 27, 2021), such that the joint

 report would be due at least 10 days after the Court rules on the requested substitution of counsel.

                                                      Respectfully submitted,

                                                      s/ Devin C. Dolive
                                                      Devin C. Dolive (DOLID4671)

                                                      Attorney for Defendant
                                                      OUTOKUMPU STAINLESS USA, LLC

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                               CERTIFICATE OF SERVICE

       I do hereby certify that I have on April 21, 2021, electronically filed the foregoing
 document using the Court’s CM/ECF system, which will send electronic notice to the following:

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                                                    s/ Devin C. Dolive
                                                    OF COUNSEL




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